                    2:18-cr-20041-JES-EIL # 1                   Page 1 of 4                                                 E-FILED
                                                                                              Monday, 20 August, 2018 03:23:40 PM
AO 91 (Rev. 11/11) Criminal Complaint                                                                 Clerk, U.S. District Court, ILCD

                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Central District of Illinois

                  United States of America                           )
                               V.                                    )
                                                                     )      Case No.
                                                                     )                  18-MJ-   1 I 4-4
                         John H. Born                                )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 13, 2018                in the county of ____ M_ac_o_n_ _ _ _ in the
        Central        District of ---~lll~in~o_is~-- . , the defendant(s) violated:

             Code Section                                                      Offense Description
Title 21, United States Code,                    Possession with intent to distribute 50 grams or more of methamphetamine
Section 841(a)(1) and (b)(1)(A)




          This criminal complaint is based on these facts:
See affidavit of FBI Task Force Officer Chad Ramey.




          0 Continued on the attached sheet.
                                                                               s/Chad Ramey




                                                                                       Chad Ramey, FBI Task Force Officer
                                                                            -------~-------------                            -
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.                                          s/Eric I Long
  '§)._           C/40/2-016'
Date:             ~


City and state:                          Urbana, Illinois                             ERIC I. LONG, U.S. Magistrate Judge
                                                                                                 Printed name and title
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                                       AFFIDAVIT


       I, Chad Ramey, being first duly sworn on oath, depose and state as follows:

                                       INTRODUCTION

       1.       I have been a police officer for the City of Decatur for the past 23 years.

During the past 19 years, I have been assigned to the Decatur Police Department Street

Crimes Unit. I am currently assigned as a Task Force Officer with the Federal Bureau of

Investigations. During my employment as a police officer for the City of Decatur, I

have conducted or participated in numerous investigations involving narcotics

distribution.

       2.       This affidavit is made in support of an arrest warrant and criminal

complaint charging John H. Born (D.O.B. 12/11/87) (hereinafter referred to as "Born")

with possession of 50 grams or more of methamphetamine ("ice") with intent to

distribute in violation of Title 21, United States Code, Sections 84l(a)(l) and (b )(l)(A).


       3.       The statements contained in this affidavit are based on my own

investigation, information provided by other law enforcement officers, information

provided by other witnesses, and my experience and background as a law enforcement

officer. The information contained in this affidavit is not an exhaustive account of

everything I know about this case. Rather, it is only the facts that I believe are necessary

to establish probable cause to issue the requested warrant. If called as a witness to

testify, I would testify as follows:
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                                   PROBABLE CAUSE

       4.      On 8/13/2018, at approximately 2350 hours, Officer Brent Morey of the

Decatur Police Department was on routine patrol in a marked squad car when he

observed a motorcycle at 1900 E. Main Street in Decatur, Illinois. Morey passed the

motorcycle and recognized the driver from prior contacts to be John H. Born. Morey

knew Born to have an active arrest warrant through Coles County, Illinois, and an

active arrest warrant through Macon County, Illinois.

       5.      Morey attempted to conduct a traffic stop on the motorcycle. Born fled on

the motorcycle and refused to stop. Morey and other officers pursued Born, who was

eventually apprehended behind 1468 E. Wood Street in Decatur. Officers located a

loaded black Glock, Model 26, 9mm handgun with serial number VZX631 lying on the

ground in close proximity to Born.

       6.      Born was searched pursuant to his arrest. Officers located three separate

plastic containers in Born's pants pockets. Approximately 39 individual plastic bags·

containing suspected "ice" methamphetamine were found in two of these containers,

and the third container held suspected "ice" methamphetamine that was not bagged.

The cumulative weight, with packaging, was approximately 200 grams, and the

substance in the containers field-tested positive for methamphetamine. Born was also

in possession of $8,531.00 US currency at the time of his arrest.

       7.      During an interview after being advised of his Miranda rights, Born

admitted to possessing the methamphetamine and stated he has been distributing large

amounts of methamphetamine for six months. Born advised he has obtained and

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redistributed at least three pounds of methamphetamine within the past month. Born

also admitted the handgun officers located was his. He stated he had been in

possession of the handgun while fleeing from police and believed he dropped the

handgun prior to his apprehension. He advised he had recently purchased the

handgun from an individual in Clinton, Illinois for $400.00, and had done so for his

protection because he has been robbed in the past and believed some associates would

attempt to rob him again. Bon1 advised he does not have a permanent address because

he believes he needs to be moving from place to place to avoid detection from Law

Enforcement and to protect himself.

      FURTHER AFFIANT SAYETH NOT.              s/Chad Ramey



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                                                                                :i
                                               Decatur Police Department
                                               Decatur, Illinois




      Subscdbed aruJ ~om tu bclocc me     [bi   s/Eric I Long         -------


                                                  C     ONG
                                               United States Magistrate Judge




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